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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11
In re:
Case No. 09-10138 (KG)
Nortel Networks Ine. et al.,'

Debtors. Objection Deadline: February 26, 2009 at 4:00 p.m.
Hearing Date: March 5, 2009 at 10:00 a.m.

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NOTICE OF APPLICATION AND HEARING

PLEASE TAKE NOTICE that on February 13, 2009, the Official
Committee of Unsecured Creditors filed the Application of the Official Committee of
Unsecured Creditors for Order Authorizing the Employment and Retention of
Capstone Advisory Group, LLC as Financial Advisor, Nunc Pro Tunc to January
26, 2009 (the “Application”) with the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy
Court”).

PLEASE TAKE FURTHER NOTICE that any responses or objections to
the Application must be in writing, filed with the Clerk of the Bankruptcy Court, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801, and served upon and received by
the undersigned counsel on or before 4:00 p.m. on February 26, 2009.

PLEASE TAKE FURTHER NOTICE that if any objections or responses

are received a hearing with respect to the Application will be held on March 3, 2009

' The Debtors in these chapter 11 cases include: Nortel Networks Inc.; Nortel Networks Capital
Corporation; Alteon Websystems, Inc.; Alteon Websystems International, Ine., Xros, Inc.; Sonoma
Systems; Qtera Corporation; Coretek, Inc.; Nortel Networks Applications Management Solutions, Inc.;
Nortel Networks Optical Components, Inc.; Nortel Networks HPOCS Inc.; Architel Systems (U.5.)
Corporation; Nortel Networks International Inc.; Northern Telecom International Inc.; and Nortel Networks
Cable Sotutions Inc,

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10:00 a.m. before The Honorable Kevin Gross at the United States Bankruptcy Court,
824 Market Street, 6" Floor, Courtroom #3, Wilmington, Delaware 19801.

IF NO OBJECTIONS TO THE APPLICATION ARE TIMELY FILED,
SERVED AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT

FURTHER NOTICE OR HEARING.

Dated: February 13, 2009 bhi»
Wilmington, Delaware
Yui.

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Proposed Counsel to the Official Committee

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Inc., ef al.

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